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17   [Counsel for Apple appears on next page]
18                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
19                            SOUTHERN DIVISION
20   MASIMO CORPORATION,                        ) Case No. 8:20-cv-00048-JVS-JDE
     a Delaware corporation; and                )
21   CERCACOR LABORATORIES, INC.,               ) JOINT STIPULATION AND
     a Delaware corporation                     ) [PROPOSED] ORDER REGARDING
22                                              )
                  Plaintiffs,                   ) PATENT PRE-TRIAL AND TRIAL
23                                              ) SCHEDULE
            v.                                  )
24                                              )
     APPLE INC., a California corporation       ) Hon. James V. Selna
25                                              )
                  Defendant.                    )
26                                              )
                                                )
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                                    #:206278



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1          Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. and Defendant
2    Apple Inc. (collectively, the “Parties”), through their respective counsel, respectfully
3    submit this Stipulation and [Proposed] Order Regarding Patent Pre-Trial and Trial
4    Schedule. The parties respectfully request the Court enter the following schedule.
5                               Event                                        Date
6     Masimo narrowed to 12 asserted claims.                              1/24/2025
7     Apple narrows prior art combinations to no more than six            2/18/2025
      prior art combinations for any claim, counted according to
8
      Altera. Dkt. 2019 at 12-14.
9
      Parties to supplement document discovery based on new               2/28/2025
10    facts (including additional documents relating to 2024
      products).
11
      Opening Expert Reports (treated as final infringement               4/11/2025
12    contentions and final invalidity contentions)
13    Rebuttal Expert Reports                                             5/30/2025
14    Reply Expert Reports                                                6/20/2025
15    Close of Expert Discovery                                           7/11/2025
16    Law and Motion (motions, other than motions-in-limine,              7/28/2025
      filed no later than) (one MSJ per side absent prior
17
      approval by the Court at least seven days in advance of
18    filing date)
19    MSJ/Daubert Opp                                                     8/18/2025
20    MSJ/Daubert Reply                                                   8/25/2025
21    Law and Motion Hearing                                               9/8/2025
22    ADR Deadline (conduct further session)                              9/10/2025

23    Rule 16-2 Meeting of Counsel Deadline                               9/10/2025
      Masimo narrows to no more than 5 asserted claims.                 One week after
24
                                                                    MSJ/Daubert order, but
25                                                                  no later than two weeks
                                                                   before pretrial conference
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1                             Event                                        Date
2    Apple narrows prior art combinations to no more than four    Five business days after
3    prior art combinations for any claim, counted according to    Masimo narrows to no
     Altera. Dkt. 2019 at 12-14.                                   more than 5 asserted
4                                                                         claims
5    Motions In Limine                                                  9/22/2025
6    Motion in Limine Opposition Briefs                                 9/29/2025
7    Meet and Confer regarding Jury Instructions and                    9/29/2025
     Objections
8
     Lodge Pretrial Conf. Order; File Memo of Contentions of            10/6/2025
9    Fact and Law; Exhibit List; Witness List; Status Report re
10   Settlement
11   Motion in Limine Reply Briefs                                      10/6/2025

12   Pretrial Conference: Hearing on Motions in Limine; File            10/20/2025
     Agreed Upon Set of Jury Instructions and Verdict Forms
13   and Joint Statement re Disputed Instructions and Verdict
14   Forms; File Proposed Voir Dire Qs and Agreed-to
     Statement of Case
15
     Lodge Deposition Designations                                   First day of trial
16
     Jury Trial                                                         11/4/2025
17
18   SO STIPULATED.
19        The parties have attached a Proposed Order for the Court’s consideration.
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                                     #:206281



1                                          Respectfully submitted,
2                                          KNOBBE, MARTENS, OLSON & BEAR, LLP
3
4    Dated: February 19, 2025              By: /s/ Adam B. Powell
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5                                               Stephen C. Jensen
                                                Sheila N. Swaroop
6                                               Brian C. Horne
                                                Brian C. Claassen
7                                               Jared C. Bunker
                                                Mark D. Kachner
8                                               Adam B. Powell
                                                Kendall M. Loebbaka
9                                               Daniel P. Hughes
10                                                 Attorneys for Plaintiffs
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11                                                 CERCACOR LABORATORIES, INC.
12                                         WILMER CUTLER PICKERING HALE
                                           AND DORR LLP
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14   Dated: February 19, 2025              By: /s/ Nora Passamaneck
15                                                Mark D. Selwyn
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16                                                Joshua H. Lerner
                                                  Amy K. Wigmore
17                                                Joseph J. Mueller
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18                                                Nora Passamaneck
                                                  Brian A. Rosenthal
19                                                Kenneth G. Parker

20                                                  Attorneys for Defendant
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1                                   FILER’S ATTESTATION
2               Pursuant to Local Rule 5-4.3.4 regarding signatures, I hereby attest that
3    concurrence in the filing of this document has been obtained from all signatories above.
4
5    Dated: February 19, 2025                  By: /s/ Adam B. Powell
                                                    Joseph R. Re
6                                                   Stephen C. Jensen
                                                    Sheila N. Swaroop
7                                                   Brian C. Horne
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